       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                                      NO. 03-24-00521-CV




                                   In re John Therrin Baldwin




                      ORIGINAL PROCEEDING FROM TRAVIS COUNTY



                             MEMORANDUM OPINION


                 Relator John Therrin Baldwin has filed a pro se petition for writ of mandamus

asking this Court to direct the Travis County District Clerk to transmit a copy of his application

for writ of habeas corpus and all related filings to the Court of Criminal Appeals in accordance

with article 11.07 of the Texas Code of Criminal Procedure. See Tex. Code Crim. Proc. art.

11.07, § 3(c).

                 Article 11.07 vests complete jurisdiction over post-conviction relief from final

felony convictions in the Texas Court of Criminal Appeals. See id. art. 11.07; Board of Pardons

&amp; Paroles ex rel. Keene v. Court of Appeals for Eighth Dist., 910 S.W.2d 481, 483 (Tex. Crim.

App. 1995) (“Jurisdiction to grant post conviction habeas corpus relief on a final felony

conviction rests exclusively with this Court.”); In re Watson, 253 S.W.3d 319, 320 (Tex. App.—

Amarillo 2008, orig. proceeding) (explaining in context of application for writ of habeas corpus,

that applicant seeking relief from action or inaction of convicting court “may seek mandamus

relief from the Court of Criminal Appeals”). Further, relator seeks a writ of mandamus against
the Travis County District Clerk and has not shown how the writ is necessary to enforce this

Court’s jurisdiction. See Tex. Gov’t Code § 22.221(a) (authorizing courts of appeals to issue

writs of mandamus “necessary to enforce the jurisdiction of the court”), (b) (generally

authorizing courts of appeals to issue writs against judges of specified courts).

                  Because we lack jurisdiction to grant the requested relief, we dismiss Baldwin’s

petition for writ of mandamus.        See Tex. Code Crim. Proc. art. 11.07; Tex. Gov’t Code

22.221(a), (b).



                                               __________________________________________
                                               Rosa Lopez Theofanis, Justice

Before Justices Kelly, Smith, and Theofanis

Filed: August 23, 2024




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